Case 2:23-cv-00334-JRG Document 1-1 Filed 07/14/23 Page 1 of 11 PageID #: 13




              Exhibit A
Case 2:23-cv-00334-JRG Document 1-1 Filed 07/14/23 Page 2 of 11 PageID #: 14

                                                                                            US00827958OB2


(12) United States Patent                                                  (10) Patent No.:              US 8.279,580 B2
       Zhong et al.                                                        (45) Date of Patent:                    Oct. 2, 2012

(54) ELECTRODE FOR ENERGY STORAGE                                     (56)                   References Cited
       DEVICE WITH MICROPOROUSAND
       MESOPOROUS ACTIVATED CARBON                                                      U.S. PATENT DOCUMENTS
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(75) Inventors: Linda Zhong, San Diego, CA (US);                             6,296,746 B1    10/2001 Broman
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(*) Notice:        Subject to any disclaimer, the term of this
                   patent is extended or adjusted under 35                         FOREIGN PATENT DOCUMENTS
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(21) Appl. No.:          12/445,295
                                                                                        OTHER PUBLICATIONS
(22) PCT Fled:          Oct. 17, 2007
                                                                      Office Action dated Sep. 1, 2010 Received from Chinese Patent
                                                                      Office for co-pending Chinese Application No. 200780038879.7.
(86). PCT No.:          PCT/US2007/081698
      S371 (c)(1),                                                                           (Continued)
      (2), (4) Date:    Apr. 15, 2009                                 Primary Examiner — Nguyen T Ha
(87)   PCT Pub. No.: WO2O08/049037                                    Assistant Examiner — Hung Dang
                                                                      (74) Attorney, Agent, or Firm — Knobbe Martens Olson &
       PCT Pub. Date: Apr. 24, 2008                                   Bear LLP

(65)                   Prior Publication Data                         (57)                    ABSTRACT
       US 201O/OO33898A1           Feb. 11, 2010                      Particles of active electrode material are made by blending or
                                                                      mixing a mixture of activated carbon, optional conductive
            Related U.S. Application Data                             carbon, and binder. In selected implementations, the activated
                                                                      carbon particles have between about 70 and 98 percent
(60) Provisional application No. 60/852.459, filed on Oct.            microporous activated carbon particles and between about 2
       17, 2006.                                                      and 30 percent mesaporous activated carbon particles by
                                                                      weight. Optionally, a small amount of conductive particles,
(51)   Int. C.
                                                                      Such as conductive carbon particles may be used. In one
     HOIG 4/005                     (2006.01)                         implementation, the binder is inert. The electrode material
(52) U.S. Cl. ..................... 361/502: 361/303: 361/301.1;      may be attached to a current collector to obtain an electrode
                                             361/523: 361/508         for use in various energy storage devices, including a double
(58)   Field of Classification Search .................. 361/303,     layer capacitor.
                                361/301.1, 523,516, 508, 502
       See application file for complete search history.                              27 Claims, 2 Drawing Sheets

                   200-Y.
                                                                    Current Collector


                                                     21 O Active Electrode Film

                                                       220 Porous Separator

                                                     230 Active Electrode Film


                                                 235 C urrent Collector
Case 2:23-cv-00334-JRG Document 1-1 Filed 07/14/23 Page 3 of 11 PageID #: 15


                                                         US 8,279,580 B2
                                                                   Page 2

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Case 2:23-cv-00334-JRG Document 1-1 Filed 07/14/23 Page 4 of 11 PageID #: 16


U.S. Patent          Oct. 2, 2012   Sheet 1 of 2          US 8,279,580 B2




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      3.
Case 2:23-cv-00334-JRG Document 1-1 Filed 07/14/23 Page 5 of 11 PageID #: 17


U.S. Patent          Oct. 2, 2012         Sheet 2 of 2     US 8,279,580 B2




                                  205. Current Collector

                           21 O Active Electrode Film

                            220 Porous Separator

                           230 Active Electrode Film

                        235. Current Collector
Case 2:23-cv-00334-JRG Document 1-1 Filed 07/14/23 Page 6 of 11 PageID #: 18


                                                      US 8,279,580 B2
                               1.                                                                       2
        ELECTRODE FOR ENERGY STORAGE                                    unit Volume. Because capacitance is directly proportional to
         DEVICE WITH MICROPOROUSAND                                     the electrode area and inversely proportional to the widths of
        MESOPOROUS ACTIVATED CARBON                                     the charge separation layers, the combined effect of the large
                   PARTICLES                                            effective Surface area and narrow charge separation layers is
                                                                        capacitance that is very high in comparison to that of conven
              CROSS-REFERENCE TO RELATED                                tional capacitors of similar size and weight. High capacitance
                     APPLICATIONS                                       of double layer capacitors allows the capacitors to receive,
                                                                        store, and release large amount of electrical energy.
   This application claims the benefit of U.S. provisional                 Electrical energy stored in a capacitor is determined using
application No. 60/852.459, filed by Linda Zhong and               10   a well-known formula:
Xiaomei Xi on 17 Oct. 2006, which is hereby incorporated by
reference as though fully set forth herein.
                                                                                                     C. V.                           (1)
                      BACKGROUND
                                                                   15
   The present invention generally relates to electrodes and            In this formula, E represents the stored energy, C Stands for
the fabrication of electrodes. More specifically, the present           the capacitance, and V is the Voltage of the charged capacitor.
invention relates to electrodes used in energy storage devices,
Such as electrochemical double layer capacitors and hybrid              Thus, the maximum energy (E.) that can be stored in a
capacitor and battery devices.                                          capacitor is given by the following expression:
   Electrodes are widely used in many devices that store elec
trical energy, including primary (non-rechargeable) battery
cells, secondary (rechargeable) battery cells, fuel cells, and                                  En   Cs V:                           (2)
                                                                                                       2
capacitors. Important characteristics of electrical energy Stor
age devices include energy density, power density, maximum         25
charging and discharging rate, internal leakage current,                where V, stands for the rated voltage of the capacitor. It
equivalent series resistance (ESR), and/or durability, i.e., the        follows that a capacitor's energy storage capability depends
ability to withstand multiple charge-discharge cycles. For a            on both (1) its capacitance, and (2) its rated Voltage. Increas
number of reasons, double layer capacitors, also known as               ing these two parameters may therefore be important to
Supercapacitors and ultracapacitors, are gaining popularity in     30   capacitor performance.
many energy storage applications. The reasons include avail
ability of double layer capacitors with high power densities                                     SUMMARY
(in both charge and discharge modes), and the long life of
double layer capacitors compared to conventional recharge                  Over a number of charge-discharge cycles, ions within an
able cells.                                                        35   electrolyte of an energy storage device may migrate within an
   Double layer capacitors typically use as their energy stor           electrode of the energy storage device. Over time, ions may
age element electrodes immersed in an electrolyte (an elec              get “stuck within pores (e.g., micropores) of an electrode
trolytic solution). As such, a porous separator immersed in             and become unavailable for further charge-discharge cycles.
and impregnated with the electrolyte may ensure that the                This reduction in available ions within a localized region of
electrodes do not come in contact with each other, preventing      40   the electrode results in a condition of “local electrolyte starv
electronic current flow directly between the electrodes. At the         ing in that region of the electrode. As regions of an electrode
same time, the porous separator allows ionic currents to flow           lose the availability of ions in those regions, the energy Stor
through the electrolyte between the electrodes in both direc            age device undergoes a reduction in performance. It would be
tions. As discussed below, double layers of charges are                 desirable to improve reliability and durability of energy stor
formed at the interfaces between the solid electrodes and the      45   age devices, as measured by the number of charge-discharge
electrolyte.                                                            cycles that an energy storage device can withstand without a
   When electric potential is applied between a pair of elec            significant deterioration in its operating characteristics. Addi
trodes of a double layer capacitor, ions that exist within the          tionally, it would be desirable to provide energy storage
electrolyte are attracted to the surfaces of the oppositely             devices using these electrodes.
charged electrodes, and migrate towards the electrodes. A          50      The use of both microporous and mesoporous activated
layer of oppositely-charged ions is thus created and main               carbons together is provided. The mesoporous activated car
tained near each electrode surface. Electrical energy is stored         bons provide excess capacity for electrolytes (and the ions
in the charge separation layers between these ionic layers and          within the electrolytes). Microporous activated carbons, how
the charge layers of the corresponding electrode surfaces. In           ever, have Smaller capacities for electrolytes and ions. Thus,
fact, the charge separation layers behave essentially as elec      55   when ions may not be available due to the microporous acti
trostatic capacitors. Electrostatic energy can also be stored in        vated carbons, the mesoporous activated carbons may pro
the double layer capacitors through orientation and alignment           vide additional electrolyte in a localized region to provide
of molecules of the electrolytic solution under influence of            additional ions for charge-discharge cycles.
the electric field induced by the potential. This mode of                  In a double layer capacitor, for example, local electrolyte
energy storage, however, is secondary.                             60   starvation can lead to capacitance fade, where the capacitance
   In comparison to conventional capacitors, double layer               of the double layer capacitor decreases over multiple charge
capacitors have high capacitance in relation to their Volume            discharge cycles. It would be desirable to improve reliability
and weight. There are two main reasons for these Volumetric             and durability of energy storage devices double layer capaci
and weight efficiencies. First, the charge separation layers are        tors, as measured by the number of charge-discharge cycles
very narrow. Their widths are typically on the order of            65   that a double layer capacitor can withstand without a signifi
nanometers. Second, the electrodes can be made from a                   cant deterioration in its operating characteristics (e.g., capaci
porous material, having very large effective surface area per           tance). Since an end of life of a double layer capacitor can be
Case 2:23-cv-00334-JRG Document 1-1 Filed 07/14/23 Page 7 of 11 PageID #: 19


                                                     US 8,279,580 B2
                               3                                                                     4
defined for a particular application by reaching an unaccept           particles by weight. The active electrode material further
able capacitance level for that application, slowing a fade in         includes binder. The active electrode material may also
capacitance can directly increase the life of a double layer           include conductive particles, such as conductive carbon par
capacitor.                                                             ticles. In one implementation, the activated carbon may have
   Various implementations hereof are directed to methods,             between about 80 and 98 percent microporous activated car
electrodes, electrode assemblies, and electrical devices that          bonparticles and between about 2 and 20 percent mesoporous
may be directed to or may satisfy one or more of the above             activated carbon particles by weight. In another implementa
needs. An exemplar implementation herein disclosed is a                tion, the activated carbon may have between about 85 and 95
method of making particles of active electrode material. In            percent microporous activated carbon particles and between
accordance with Such a method, particles of activated carbon,     10   about 5 and 15 percent mesoporous activated carbon particles
optional conductive carbon, and binder may be mixed. In                by weight.
aspects hereof, the activated carbon may comprise between                 In one implementation, an electrochemical double layer
about 70 and 98 percent microporous activated carbon par               capacitor may include a first electrode comprising a first
ticles and between about 2 and 30 percent mesoporous acti              current collector and a first film of active electrode material,
vated carbon particles by weight. In aspects hereof, the          15   the first film comprising a first Surface and a second surface,
optional conductive particles may include conductive carbon            the first current collector being attached to the first surface of
materials such as carbon black, graphite, carbon fiber, carbon         the first film; a second electrode comprising a second current
nanotubes, and the like.                                               collector and a second film of active electrode material, the
   In accordance with Some alternative aspects hereof, the             second film comprising a third Surface and a fourth Surface,
binder is an electrochemically inert binder, such as PTFE.             the second current collector being attached to the third surface
The proportion of the inert binder may be between about 3              of the second film; a porous separator disposed between the
and about 20 percent by weight, and in some other instances            second surface of the first film and the fourth surface of the
between about 9 and about 11 percent by weight, or may be,             second film; a container; an electrolyte; wherein: the first
for example, about 10 percent by weight. In accordance with            electrode, the second electrode, the porous separator, and the
Some aspects hereof, the proportion of the optional conduc        25   electrolyte are disposed in the container; the first film is at
tive particles in the resultant mixture may be between about 0         least partially immersed in the electrolyte; the second film is
and about 15 percent by weight, and in some instances does             at least partially immersed in the electrolyte; the porous sepa
not exceed about 0.5 percent by weight. In accordance with             rator is at least partially immersed in the electrolyte; each of
further alternative aspects hereof, mixing of the activated            the first and second films may include a mixture comprising
carbon, optional conductive carbon, and binder may be per         30
                                                                       activated carbon, wherein the activated carbon has between
formed by dry-blending these ingredients. In accordance with           about 70 and 98 percent microporous activated carbon par
some further alternative aspects hereof, the mixing may be             ticles and between about 2 and 30 percent mesoporous acti
carried out by Subjecting the activated carbon, optional con           vated carbon particles by weight. In one implementation, the
ductive carbon, and binder to a non-lubricated high-shear              electrode films further may include conductive particles, such
force technique. In accordance with still further alternative     35   as conductive carbon. In one implementation, the electrode
aspects hereof, films of active electrode material may be made         films further may include binder. In one implementation, the
from the particles of active electrode material made as is             films are attached to respective collectors via a conductive
described herein. The films may be attached to current col             adhesive layer.
lectors and used in various electrical devices, for example, in           These and other features and aspects of the present inven
double layer capacitors. Other binders that may be used           40
                                                                       tion will be better understood with reference to the following
include, but are not limited to, polyvinylidene difluoride             description, drawings, and appended claims.
(PVDF), polyethylene (PE), high molecular weight polyeth
ylene (HMWPE), ultra high molecular weight polyethylene                       BRIEF DESCRIPTION OF THE DRAWINGS
(UHMWPE), polypropylene (PP), carboxymethyl cellulose
(CMC), polyvinylphenol, polyvinylpyrrolidine, polyvinyl           45     FIG. 1 illustrates selected operations of a process for mak
acetate, polyvinyl alcohol, and polyacetylene.                         ing active electrode material in accordance with Some aspects
   In one implementation, a method of making particles of              hereof, and
active electrode material may include providing activated                 FIG. 2, which includes sub-part FIGS. 2A and 2B, illus
carbon with between about 70 and 98 percent microporous                trates a cross-section of respective electrode assemblies
activated carbon particles and between about 2 and 30 percent     50   which may be used in an ultracapacitor.
mesoporous activated carbon particles by weight; providing
binder; mixing the activated carbon and the binder to obtain a                          DETAILED DESCRIPTION
mixture. The method may in some options further include
providing conductive particles, such as conductive carbon                 In this document, the words “implementation' and “vari
particles. In one implementation, the binder may be or may        55   ant’ may be used to refer to a particular apparatus, process, or
include PTFE. In one implementation, the operation of mix              article of manufacture, and not necessarily always to one and
ing may include dry blending the activated carbon, conduc              the same apparatus, process, or article of manufacture. Thus,
tive carbon, and the binder. In one implementation, the opera          “one implementation’ (or a similar expression) used in one
tion of mixing may be performed without processing                     place or context can refer to one particular apparatus, process,
additives. In another implementation, the operation of mixing     60   or article of manufacture; and, the same or a similar expres
may be performed with one or more processing additives.                sion in a different place can refer either to the same or to a
   In one implementation, an electrode may include a current           different apparatus, process, or article of manufacture. Simi
collector; and a film of active electrode material attached to         larly, 'some implementations.” “certain implementations.” or
the current collector, wherein the active electrode material           similar expressions used in one place or context may refer to
may include particles of activated carbon with between about      65   one or more particular apparatuses, processes, or articles of
70 and 98 percent microporous activated carbon particles and           manufacture; the same or similar expressions in a different
between about 2 and 30 percent mesoporous activated carbon             place or context may refer to the same or a different apparatus,
Case 2:23-cv-00334-JRG Document 1-1 Filed 07/14/23 Page 8 of 11 PageID #: 20


                                                       US 8,279,580 B2
                                5                                                                         6
process, or article of manufacture. The expression “alterna               tially the same parts or operations. The drawings are in sim
tive implementation' and similar phrases are used to indicate             plified form and not to precise scale. For purposes of conve
one of a number of different possible implementations. The                nience and clarity only, directional terms, such as top, bottom,
number of possible implementations is not necessarily lim                 left, right, up, down, over, above, below, beneath, rear, and
ited to two or any other quantity. Characterization of an                 front may be used with respect to the accompanying draw
implementation as “an exemplar' or “exemplary' means that                 ings. These and similar directional terms, should not be con
the implementation is used as an example. Such characteriza               strued to limit the scope of the invention.
tion does not necessarily mean that the implementation is a                  Referring more particularly to the drawings, FIG. 1 illus
preferred implementation; the implementation may but need                 trates selected operations of a dry process 100 for making
not be a currently preferred implementation.                         10   active electrode material. Although the process operations are
   The expression “active electrode material' and similar                 described Substantially serially, certain operations may also
phrases signify material that provides or enhances the func               be performed in alternative order, in conjunction or in paral
tion of the electrode beyond simply providing a contact or                lel, in a pipelined manner, or otherwise. There is no particular
reactive area approximately the size of the visible external              requirement that the operations be performed in the same
surface of the electrode. In a double layer capacitor electrode,     15   order in which this description lists them, except where
for example, a film of active electrode material includes par             explicitly so indicated, otherwise made clear from the con
ticles with high porosity, so that the surface area of the elec           text, or inherently required. Not all illustrated operations may
trode exposed to an electrolyte in which the electrode is                 be strictly necessary, while other optional operations may be
immersed may be increased well beyond the area of the                     added to the process 100. A high level overview of the process
visible external surface; in effect, the surface area exposed to          100 is provided immediately below. A more detailed descrip
the electrolyte becomes a function of the volume of the film              tion of the operations of the process 100 and variants of the
made from the active electrode material.                                  operations are provided following the overview.
   The meaning of the word “film is similar to the meaning of                In operation 105, activated carbon particles with different
the words “layer” and “sheet': the word “film” does not                   porosities may be provided. For the purposes of this applica
necessarily imply a particular thickness or thinness of the          25   tion, micropores refer to pores in activated carbon having a
material. When used to describe making of active electrode                pore diameter of less than 2 nanometers, mesopores refer to
material film, the terms “powder,” “particles, and the like               pores in activated carbon having a pore diameter from 2
refer to a plurality of small granules. As a person skilled in the        nanometers to 50 nanometers, and macropores refer to pores
art would recognize, particulate material is often referred to            in activated carbon having a pore diameter of greater than 50
as a powder, grain, specks, dust, or by other appellations.          30   nanometers. A bulk activated carbon material may also be
References to carbon and binder powders throughout this                   classified as microporous activated carbon material, mesopo
document are thus not meant to limit the present implemen                 rous activated carbon material, and macroporous activated
tations.                                                                  carbon material. A microporous activated carbon material
   The references to “binder within this document are                     refers to a bulk activated carbon material having a majority of
intended to convey the meaning of polymers, co-polymers,             35   micropores (i.e., greater than 50 percent of its pores being
and similar ultra-high molecular weight Substances capable                micropores). A mesoporous activated carbon material refers
of providing a binding for the carbon herein. Such substances             to a bulk activated carbon material having a majority of meso
are often employed as binder for promoting cohesion in                    pores. A macroporous activated carbon material refers to a
loosely-assembled particulate materials, i.e., active filler              bulk activated carbon material having a majority of
materials that perform some useful function in a particular          40   macropores.
application.                                                                 In operation 110, optional conductive particles, such as
   The words “calender,” “nip,” “laminator, and similar                   conductive carbon particles with low contamination level and
expressions mean a device adapted for pressing and com                    high conductivity or other conductive particles may be pro
pressing. Pressing may be, but is not necessarily, performed              vided. In operation 115, binder may be provided. In one or
using rollers. When used as verbs, “calender and “laminate’          45   more implementations, and although one or more of a variety
mean processing in a press, which may, but need not, include              of binders may be used as described elsewhere herein, the
rollers. Mixing or blending as used herein may mean process               binder may include polytetrafluoroethylene (also known as
ing which involves bringing together component elements                   PTFE or by the tradename, “Teflon R”). In operation 120, one
into a mixture. High shear or high impact forces may be, but              or more of the activated carbon, conductive carbon, and
are not necessarily, used for Such mixing. Example equip             50   binder may be blended or mixed; typically two or more may
ment that can be used to prepare/mix the dry powder(s)hereof              be mixed together. Alternatively, in certain implementations
may include, in non-limiting fashion: a ball mill, an electro             one or more of these ingredients and/or operations may be
magnetic ball mill, a disk mill, a pin mill, a high-energy                omitted.
impact mill, a fluid energy impact mill, an opposing nozzle jet              More detailed descriptions of individual operations of the
mill, a fluidized bed jet mill, a hammer mill, a fritz mill, a       55   process 100 in preferred and alternative forms are now set
Warring blender, a roll mill, a mechanofusion processor (e.g.,            forth. As a first example, operation 105, in which activated
a Hosokawa AMS), or an impact mill.                                       carbon particles with between about 70 and 98 percent
  Other and further definitions and clarifications of defini              microporous activated carbon particles and between about 2
tions may be found throughout this document. The definitions              and 30 percent mesoporous activated carbon particles by
are intended to assist in understanding this disclosure and the      60   weight, is first described. Electrodes made from activated
appended claims, but the scope and spirit of the invention                carbon particles with between about 70 and 98 percent
should not be construed as strictly limited to the definitions,           microporous activated carbon particles and between about 2
or to the particular examples described in this specification.            and 30 percent mesoporous activated carbon particles by
   Reference will now be made in detail to several implemen               weight tend to have better mobility of electrolyte in which the
tations of the invention that are illustrated in the accompany       65   electrodes are immersed and ions within the electrolyte to
ing drawings. The same reference numerals are used in the                 reduce or prevent local electrolyte starvation from occurring,
drawings and the description to refer to the same or Substan              than in the case of activated carbon particles with a higher
Case 2:23-cv-00334-JRG Document 1-1 Filed 07/14/23 Page 9 of 11 PageID #: 21


                                                      US 8,279,580 B2
                               7                                                                      8
percentage of microporous activated carbon. Accordingly, in                As introduced above, the blended dry powder material or
Some implementations the activated carbon particles pro                 other blended materials (e.g., including one or more dry or
vided in operation 105 have between about 70 and 98 percent             wet additive) may also or alternatively be formed/mixed/
microporous activated carbon particles and between about 2              blended using other equipment. Such equipment that can be
and 30 percent mesoporous activated carbon particles by                 used to prepare/mix the dry powder(s) or other materials
weight. In some more specific implementations, activated                hereof may include, for non-limiting examples: blenders of
carbon particles provided in the operation 105 have between             many sorts including rolling blenders and warring blenders,
about 80 and 98 percent microporous activated carbon par                and mills of many sorts including ball mills, electromagnetic
ticles and between about 2 and 20 percent mesoporous acti               ball mills, disk mills, pin mills, high-energy impact mills,
vated carbon particles by weight of the activated carbon par       10   fluid energy impact mills, opposing nozzle jet mills, fluidized
ticles may. In another implementation, the activated carbon             bedjet mills, hammer mills, fritz mills, roll mills, mechano
particles provided in the operation 105 have between about 85           fusion processing (e.g., a Hosokawa AMS), or impact mills.
and 95 percent microporous activated carbon particles and               In an implementation, the dry powder material may be dry
between about 5 and 15 percent mesoporous activated carbon              mixed using non-lubricated high-shear or high impact force
particles by weight                                                15   techniques. In an implementation, high-shear or high impact
   In operation 115, binders may be provided, for example:              forces may be provided by a mill such as one of those
PTFE in granular powderform, and/or various fluoropolymer               described above. The dry powder material or other blended
particles, polypropylene, polyethylene, co-polymers, and/or             material may be introduced into the mill, wherein high-ve
other polymer blends. It has been identified, that the use of           locities and/or high forces could then be directed at or
inert binders such as PTFE, tends to increase the voltage at            imposed upon the dry powder material to effectuate applica
which an electrode including Such an inert binder may be                tion of high shear or high impact to the binder within the dry
operated. Such increase occurs in part due to reduced inter             powder material or other blended material. The shear or
actions with electrolyte in which the electrode is subse                impact forces that arise during the dry mixing process may
quently immersed. In one implementation, typical diameters              physically affect the binder, causing the binder to bind the
of the PTFE particles may be in the five hundred micron            25   binder to and/or with other particles within the material.
range.                                                                     Moreover, although additives, such as solvents, liquids,
   In the operation 120, activated carbon particles and binder          and the like, are not necessarily used in some implementa
particles may be blended or otherwise mixed together. In                tions of the manufacture of certain electrode films disclosed
various implementations, proportions of activated carbon                herein, a certain amount of impurity, for example, moisture,
(comprising both microporous activated carbon and mesopo           30   may be absorbed by the active electrode material from the
rous activated carbon as described above) and binder may be             surrounding environment. Those skilled in the art will under
as follows: about 80 to about 97 percent by weight of acti              stand, after perusal of this document, that the dry particles
vated carbon, about 3 to about 20 percent by weight of PTFE.            used with implementations and processes disclosed herein
Optional conductive carbon could be added in a range of                 may also, prior to being provided by particle manufacturers as
about 0 to about 15 percent by weight. An implementation           35   dry particles, have themselves been pre-processed with addi
may contain about 89.5 percent of activated carbon, about 10            tives and, thus, contain one or more pre-process residues. For
percent of PTFE, and about 0.5 percent of conductive carbon.            these reasons, one or more of the implementations and pro
Other ranges are within the scope hereofas well. Note that all          cesses disclosed herein may utilize a drying operation at Some
percentages are here presented by weight, though other per              point before a final electrolyte impregnation operation, so as
centages with other bases may be used. Conductive carbon           40   to remove or reduce the aforementioned pre-process residues
may be preferably held to a low percentage of the mixture               and impurities. Even after one or more drying operations,
because an increased proportion of conductive carbon may                trace amounts of moisture, residues and impurities may be
tend to lower the breakdown voltage of electrolyte in which             present in the active electrode material and an electrode film
an electrode made from the conductive carbon particles is               made therefrom.
Subsequently immersed (alternative electrolyte examples are        45      It should also be noted that references to dry-blending, dry
set forth below).                                                       particles, and other dry materials and processes used in the
   In an implementation of the process 100, the blending                manufacture of an active electrode material and/or film do not
operation 120 may be a “dry-blending operation, i.e., blend             exclude the use of other than dry processes, for example, this
ing of activated carbon, conductive carbon, and/or binder is            may be achieved after drying of particles and films that may
performed without the addition of any solvents, liquids, pro       50   have been prepared using a processing aid, liquid, solvent, or
cessing aids, or the like to the particle mixture. Dry-blending         the like.
may be carried out, for example, for about 1 to about 10                  A product obtained through a process like process 100 may
minutes in a mill, mixer or blender (such as a V-blender                be used to make an electrode film. The films may then be
equipped with a high intensity mixing bar, or other alternative         bonded to a current collector. Such as a foil made from alu
equipment as described further below), until a uniform dry         55   minum or another conductor. The current collector can be a
mixture is formed. Those skilled in the art will identify, after        continuous metal foil, metal mesh, or nonwoven metal fabric.
perusal of this document, that blending time can vary based             The metal current collector provides a continuous electrically
on batch size, materials, particle size, densities, as well as          conductive substrate for the electrode film. The current col
other properties, and yet remain within the scope hereof.               lector may be pretreated prior to bonding to enhance its adhe
   In another implementation, the blending operation 120           60   sion properties. Pretreatment of the current collector may
may blendactivated carbon, conductive carbon, and/or binder             include mechanical roughing, chemical pitting, and/or use of
together with the addition of any solvents, liquids processing          a Surface activation treatment, such as corona discharge,
aids, or the like. Such additives, for example, may be helpful          active plasma, ultraviolet, laser, or high frequency treatment
informing an electrode film depending on the process used to            methods known to a person skilled in the art. In one imple
ultimately form the film. Coating or extrusion film processes,     65   mentation, the electrode films may be bonded to a current
for example, may require one or more additives to be blended            collector via an intermediate layer of conductive adhesive
or otherwise mixed with the other materials.                            known to those skilled in the art.
Case 2:23-cv-00334-JRG Document 1-1 Filed 07/14/23 Page 10 of 11 PageID #: 22


                                                      US 8,279,580 B2
                                                                                                      10
   In one implementation, a product obtained from process               lytic solution may include in Some examples, 1.5 M tetram
100 may be mixed with a processing aid to obtain a slurry-like          ethylammonium tetrafluoroborate in organic solutions, such
composition used by those skilled in the art to coat an elec            as PC or Acetronitrile solvent. Alternative electrolyte
trode film onto a collector (i.e. a coating process). The slurry        examples are set forth below.
may be then deposited on one or both sides of a current                    Following are several non-limiting examples of aqueous
collector. After a drying operation, a film or films of active          electrolytes which may be used in double-layer capacitors or
electrode material may be formed on the current collector.              ultracapacitors hereof: 1-molar Sodium sulphate, NaSO;
The current collector with the films may be calendered one or           1-molar Sodium perchlorate, NaClO. 1-molar Potassium
more times to densify the films and to improve adhesion of the          hydroxide, KOH: 1-molar Potassium chloride, KCl: 1-molar
films to the current collector.                                    10   Perchloric acid, HClO. 1-molar Sulfuric acid, HSO. 1-mo
   In one implementation, a product obtained from process               lar Magnesium chloride, MgCl2, and, Mixed aqueous 1-mo
100 may be mixed with a processing aid to obtain a paste-like           lar MgCl/HO/Ethanol. Some non-limitative nonaqueous
material. The paste-like material may be then be extruded,              aprotic electrolyte solvents which can be used in capacitors
formed into a film, and deposited on one or both sides of a             include: Acetonitrile; Gamma-butyrolactone; Dimethoxy
current collector. After a drying operation, a film or films of    15   ethane; N.N.-Dimethylformamide: Hexamethyl-phosphoro
active electrode material may be formed on the current col              triamide: Propylene carbonate; Dimethyl carbonate; Tetrahy
lector. The current collector with the dried films may be               drofuran: 2-methyltetra-hydrofuran: Dimethyl sulfoxide:
calendered one or more times to densify the films and to                Dimethyl sulfite: Sulfolane (tetra-methylenesulfone);
improve adhesion of the films to the current collector.                 Nitromethane; and, Dioxolane. Further, some non-limiting
   In yet another implementation, in a product obtained                 examples of electrolyte salts which can be used in the aprotic
through the process 100 the binder particles may include                Solvents include: Tetraalkylammonium salts (such as: Tetra
thermoplastic or thermoset particles. A product obtained                ethylammonium tetrafluoroborate, (CHS)NBF: Methyltri
through the process 100 that includes thermoplastic or ther             ethylammonium tetrafluoroborate, (CH),CHNBF. Tet
moset particles may be used to make an electrode film. Such             rabutylammonium tetrafluoroborate, (CHo). NBF, and,
a film may then be bonded to a current collector, such as a foil   25   Tetraethylammonium hexafluorophosphate (CHs)NPF);
made from aluminum or another conductor. The films may be               Tetraalkylphosphonium salts (such as: Tetraethylphospho
bonded to a current collector in a heated calendar apparatus.           nium tetrafluoroborate (CHs). PBF, Tetrapropylphospho
The current collector may be pretreated prior to bonding to             nium tetrafluoroborate (CH), PBF, Tetrabutylphospho
enhance its adhesion properties. Pretreatment of the current            nium             tetrafluoroborate              (CH), PBF,
collector may include mechanical roughing, chemical pitting,       30   Tetrahexylphosphonium tetrafluoroborate (CH), PBF,
and/or use of a Surface activation treatment, Such as corona            Tetraethylphosphonium hexafluorophosphate (CHs), PPF:
discharge, active plasma, ultraviolet, laser, or high frequency         and, Tetraethylphosphonium trifluoromethylsulfonate
treatment methods known to a person in the art.                         (CH), PCFSO; and Lithium salts (such as: Lithium tet
   Other methods of forming the active electrode material               rafluoroborate LiBF Lithium hexafluorophosphate LiPF:
films with or without additives and attaching the films to the     35   Lithium trifluoromethylsulfonate LiCFSO). Additionally,
current collector may also be used.                                     some Solvent free ionic liquids which may be used include:
   FIG. 2, including sub-part FIGS. 2A and 2B, illustrates, in          1-ethyl-3-methylimidazolium bis(pentafluoroethylsulfonyl)
a high level manner, respective cross-sectional views of an             imide EMIMBeTi; 1-ethyl-3-methylimidazolium bis(trifluo
electrode assembly 200 which may be used in an ultracapaci              romethylsulfonyl imide EMIMIm; EMIIm; EMIBeti; EMI
tor or a double layer capacitor. In FIG. 2A, the components of     40   Methide; DMPIIm; DMPIBeti; DMPIMethide: BMIIm:
the assembly 200 are arranged in the following order: a first           BMIBeti; BMIMethide; PMPIm; and, BMPIm. Examples for
current collector 205, a first active electrode film 210, a             use as Anions include: bis(trifluoromethylsulfonyl)imide
porous separator 220, a second active electrode film 230, and           (CFSO)N; bis(perfluoroethylsulfonyl)imide (CFSO)
a second current collector 235. In some implementations, a               N; and, tris(trifluoromethylsulfonyl)methide (CFSO)
conductive adhesive layer (not shown) may be disposed on           45    C. And, examples for use as Cations include: EMI: 1-ethyl
current collector 205 prior to bonding of the electrode film            3-methylimidazolium;           DMPI:          1,2-dimethyl-3-
210 (or likewise on collector 235 relative to film 230). In FIG.        propylimidazolium; BMI: 1-butyl-3-methylimidazolium;
2B, a double layer of films 210 and 210A are shown relative             PMP: 1-N-propyl-3-methylpyridinium; and, BMP: 1-N-bu
to collector 205, and a double layer 230, 230A relative to              tyl-3-methylpyridinium.
collector 235. In this way, a double-layer capacitor may be        50      Electrode products that include an active electrode film
formed, i.e., with each current collector having a carbon film          attached to a current collector and/or a porous separator may
attached to both sides. A further porous separator 220A may             be used in an ultracapacitor or a double layer capacitor and/or
then also be included, particularly for a jellyroll application,        other electrical energy storage devices.
the porous separator 220A either attached to or otherwise                  In some implementations using a process 100, wherein
disposed adjacent the top film 210A, as shown, or to or            55   activated carbon with between about 70 and 98 percent
adjacent the bottom film 230A (not shown). The films 210 and            microporous activated carbon particles and between about 2
230 (and 210A and 230A, if used) may be made using par                  and 30 percent mesoporous activated carbon particles by
ticles of active electrode material obtained through the pro            weight or in some cases between about 80 and 98 percent
cess 100 described in relation to FIG.1. An exemplary double            microporous activated carbon particles and between about 2
layer capacitor using the electrode assembly 200 may further       60   and 20 percent mesoporous activated carbon particles by
include an electrolyte and a container, for example, a sealed           weight or even between about 85 and 95 percent microporous
can, that holds the electrolyte. The assembly 200 may be                activated carbon particles and between about 5 and 15 percent
disposed within the container (can) and immersed in the                 mesoporous activated carbon particles by weight is used, a
electrolyte. In many implementations, the current collectors            high performance ultracapacitor or double-layer capacitor
205 and 235 may be made from aluminum foil, the porous             65   product can be provided. Such a product further may include
separator 220 may be made from one or more ceramics,                    about 10 percent by weight binder, and about 0.5 percent by
paper, polymers, polymer fibers, glass fibers, and the electro          weight conductive particles, such as conductive carbon.
Case 2:23-cv-00334-JRG Document 1-1 Filed 07/14/23 Page 11 of 11 PageID #: 23


                                                       US 8,279,580 B2
                          11                                                                               12
  The inventive methods for making active electrode mate                   9. The electrode of claim8, wherein the conductive carbon
rial, films of these materials, electrodes made with the films,          comprises graphite.
and double layer capacitors employing the electrodes have                  10. The electrode of claim 1, wherein the active electrode
been described above in considerable detail. This was done               material comprises a dry mixture of dry carbon and dry
for illustrative purposes. Neither the specific implementa          5    binder, and is free from processing solvent residue and addi
tions of the invention as a whole, nor those of its features,            tional binders.
limit the general principles underlying the invention. In par              11. The electrode of claim 10, wherein the binder com
ticular, the invention is not necessarily limited to the specific        prises an inert binder.
constituent materials and proportions of constituent materials             12. The electrode of claim 11, wherein the film of active
used in making the electrodes. The invention is also not nec        10   electrode material is between about 3 and about 20 percent
essarily limited to electrodes used in double layer capacitors,          binder by weight.
but extends to other electrode applications. The specific fea              13. The electrode of claim 12, wherein the film of active
tures described herein may be used in Some implementations,              electrode material is between about 9 and about 11 percent
but not in others, without departure from the spirit and scope           binder by weight.
of the invention as set forth. Many additional modifications        15
                                                                           14. The electrode of claim 11, wherein the binder com
are intended in the foregoing disclosure, and it will be appre           prises polytetrafluoroethylene (PTFE) particles.
ciated by those of ordinary skill in the art that, in some                  15. The electrode of claim 14, wherein the PTFE particles
instances, some features of the invention will be employed in            have a diameter in the range of approximately 500 microns.
the absence of other features. The illustrative examples there             16. The electrode of claim 1, wherein the electrode is a
fore do not define the metes and bounds of the invention and             capacitor electrode.
the legal protection afforded the invention, which function is             17. The electrode of claim 16, wherein the electrode is a
served by the claims and their equivalents.                              double-layer capacitor electrode.
                                                                           18. The electrode of claim 1, wherein the electrode is a fuel
                                                                         cell electrode.
  What is claimed is:
  1. An electrode for an energy storage device comprising:          25
                                                                           19. The electrode of claim 1, wherein the electrode is a
  a current collector; and                                               battery electrode.
  a film of active electrode material attached to the current              20. The electrode of claim 1, wherein the current collector
     collector, wherein the active electrode material com                comprises an electrically conductive Substrate.
     prises a total amount of activated carbon having between              21. The electrode of claim 20, wherein the current collector
     about 70 and 98 percent microporous activated carbon           30   comprises a continuous metal foil, metal mesh, or nonwoven
                                                                         metal fabric.
     particles of the total amount of activated carbon by                   22. The electrode of claim 2, wherein the total amount of
     weight and between about 2 and 30 percent mesoporous                activated carbon has between about 85 and 95 percent
     activated carbon particles of the total amount of acti              microporous activated carbon particles of the total amount of
     vated carbon by weight.                                             activated carbon by weight and between about 5 and 15 per
  2. The electrode of claim 1, wherein the total amount of          35
                                                                         cent mesoporous activated carbon particles of the total
activated carbon has between about 80 and 98 percent                     amount of activated carbon by weight.
microporous activated carbon particles of the total amount of               23. An energy storage device comprising an electrode,
activated carbon by weight and between about 2 and 20 per                wherein the electrode comprises:
cent mesoporous activated carbon particles of the total                    a current collector; and
amount of activated carbon by weight.                               40
                                                                           a dry film of active electrode material attached to the cur
  3. The electrode of claim 1, wherein the active electrode                   rent collector, comprising:
material includes activated carbon and a binder, wherein the                  70 and 98 percent by weight of microporous activated
total amount of activated carbon is in an amount of between
about 80 and about 97 percent of the film by weight, and                         carbon particles of the total amount of activated car
wherein the binder is in an amount of between about 3 and           45
                                                                                 bon;
about 20 percent of the film by weight.                                       2 and 30 percent by weight of mesoporous activated
  4. The electrode of claim 1, wherein the active electrode                     carbon particles of the total amount of activated car
material comprises a mixture of activated carbon and binder.                     bon; and
  5. The electrode of claim 1, wherein the film further com                    a dry binder.
prises conductive particles.                                        50
                                                                            24. The energy storage device of claim 23, wherein the
  6. The electrode of claim 5, wherein the film of active                binder comprises PTFE.
electrode material is less than about 15 percent conductive                 25. The energy storage device of claim 23, wherein the film
particles by weight.                                                     is free from processing solvent residue.
  7. The electrode of claim 6, wherein the film of active                   26. The energy storage device of claim 23, wherein the
electrode material does not exceed about 0.5 percent conduc         55
                                                                         energy storage device is a capacitor.
tive particles by weight.                                                   27. The energy storage device of claim 23, wherein the
                                                                         energy storage device is a battery.
   8. The electrode of claim 5, wherein the conductive par
ticles comprise conductive carbon.                                                                 k   k   k    k   k
